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                         UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF Northern District of California
             Form 1. Notice of Appeal from a Judgment or Order of a
                           United States District Court
U.S. District Court case number:               4:19-cv-02935-HSG
      Notice is hereby given that the appellant(s) listed below hereby appeal(s) to
the United States Court of Appeals for the Ninth Circuit.

Date case was first filed in U.S. District Court: 05/28/2019

Date of judgment or order you are appealing:                     05/07/2024

Docket entry number of judgment or order you are appealing:                               157, 260
Fee paid for appeal? (appeal fees are paid at the U.S. District Court)
   Yes         No           IFP was granted by U.S. District Court
List all Appellants (List each party filing the appeal. Do not use “et al.” or other abbreviations.)
  James Everett Hunt, Juan Rodriguez, Kurt Voutaz, Joel White, Andrew Austin,
  Scott Kline, and Ryan Fishman



Is this a cross-appeal?          Yes            No
If yes, what is the first appeal case number?
Was there a previous appeal in this case?                    Yes            No
If yes, what is the prior appeal case number?
Your mailing address (if pro se):




City:                                         State:                  Zip Code:

Prisoner Inmate or A Number (if applicable):

Signature       s/ Nicholas I. Porritt                                  Date Jun 3, 2024
     Complete and file with the attached representation statement in the U.S. District Court
                    Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 1                                                                                          Rev. 06/09/2022
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                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
                        Form 6. Representation Statement
     Instructions for this form: http://www.ca9.uscourts.gov/forms/form06instructions.pdf
Appellant(s) (List each party filing the appeal, do not use “et al.” or other abbreviations.)
Name(s) of party/parties:
James Everett Hunt, Juan Rodriguez, Kurt Voutaz, Joel White, Andrew Austin,
Scott Kline, and Ryan Fishman

Name(s) of counsel (if any):
Nicholas I. Porritt, Max E. Weiss
Levi & Korsinsky LLP


Address: 1101 Vermont Ave. NW Washington, D.C. 20005
Telephone number(s): 212-363-7500
Email(s): nporritt@zlk.com; mweiss@zlk.com
Is counsel registered for Electronic Filing in the 9th Circuit?                            Yes        No

Appellee(s) (List only the names of parties and counsel who will oppose you on appeal. List
separately represented parties separately.)
Name(s) of party/parties:
PricewaterhouseCoopers LLP


Name(s) of counsel (if any):
Lisa R. Bugni
King & Spalding LLP


Address: 50 California Street, Suite 3300 San Francisco, CA 94111
Telephone number(s): 415-318-1200
Email(s): Lbugni@kslaw.com


To list additional parties and/or counsel, use next page.
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                                1                                        New 12/01/2018
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Continued list of parties and counsel: (attach additional pages as necessary)
Appellants
Name(s) of party/parties:
James Everett Hunt, Juan Rodriguez, Kurt Voutaz, Joel White, Andrew Austin,
Scott Kline, and Ryan Fishman
Name(s) of counsel (if any):
Reed R. Kathrein, Lucas Gilmore, and Kevin Green
HAGENS BERMAN SOBOL SHAPIRO LLP
Address: 715 Hearst Avenue, Suite 202 Berkeley, CA 94710
Telephone number(s): (510) 725-3000
Email(s): reed@hbsslaw.com
Is counsel registered for Electronic Filing in the 9th Circuit?                               Yes     No
Appellees
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
                  Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                               2                                         New 12/01/2018
